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                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION

RADAGAST PET FOOD, INC., an                      Case No. 3:19-cv-01467-JR
Oregon corporation,
                                                 DEFENDANTS’ MEMORANDUM IN
               Plaintiff,                        SUPPORT OF MOTION FOR AN AWARD
                                                 OF ATTORNEY FEES
       v.

CENTINELA FEED, INC., a
California corporation, and THE
LOTUS PET FOOD, INC., a
California corporation,

               Defendants.


       1.      Background.

       Defendants have moved the court for an award of attorney fees in this action. Defendants

are entitled to an award of attorney fees pursuant to FRCP 54.

       This case presents as if it is a simple case of breach of a nondisclosure agreement of a cat

food manufacturer who provided information to a potential buyer.              However, the initial

complaint clearly sought to make a larger claim for misuse of confidential information.

Defendants successfully litigated this case from a $150,000 claim made in August 2019 to a

voluntary dismissal in January of 2021. However, the voluntarily dismissal is the result of an

onslaught of unnecessary and burdensome litigation, including multiple discovery requests,

needed motions to compel, multiple amendments to Plaintiff’s complaint, filed Motions for

PAGE 1 – DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION FOR AN AWARD OF ATTORNEY FEES
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Summary Judgment that were withdrawn, scheduling related issues, and ultimately, the lack of

any substantive claim against Defendants with real damages.

       At the outset, Plaintiff rendered this case much larger and broader than it ever needed to

be, sought discovery outside the claims being made (to which Defendants voluntarily provided in

hopes of resolution) and then subsequently refused to provide Defendants its own relevant

discovery after multiple months of demands and phone calls—which led to a successful Motion

to Compel brought by Defendants. By the time the initial attorney realized her claims were

going nowhere, Plaintiff—for unknown reasons—hired new counsel in September 2020. New

counsel rightfully saw that this case was over litigated and tried to narrow the claims and

damages by removing and/or amending various sections in the Complaint. However, new

counsel continued to refuse certain discovery and also filed a Motion for Summary Judgment

that was later withdrawn. The facts and billing entries show that the over litigation of this case,

and the inability to find the necessary evidence from Defendants’ own production to substantiate

the claims initially brought, was too burdensome and wasteful to continue. Nick Henderson,

Plaintiff’s third litigation attorney, then took the case over and has rightfully dismissed this case

to avoid any further and unnecessary litigation.

       To show why this case was over litigated from its inception and to convey the difficult

and unnecessary time and expense Defendants’ incurred, Defendants have set forth multiple

bullet points outlining why the fees and costs became excessive over the course of the last

eighteen months.

Phase 1: Plaintiff’s First Attorney, Elizabeth Milesnick (See billing entries from August 2019

through September 2020):

       1.      Removal of case to Federal Court.

       2.      Review, analyzed, and answered the Complaint filed against Defendants.

       3.      Review and respond to multiple, extensive discovery requests, including request

               for production and interrogatories.

       4.      Review of client documentation prior to production in excess of 1000 pages.

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       5.      Multiple discovery disputes with opposing counsel’s unreasonable discovery

               requests and continued requests for additional information after responses.

       6.      Reviewing and responding to multiple letters from opposing counsel requesting

               additional information and documents that were not responsive or relevant to

               matter.

       7.      Multiple telephone conferences, letters, and demands with opposing counsel

               requesting the lack of relevant documents that were produced by Defendants.

       8.      Multiple attempts at producing additional documents to appease opposing counsel

               in their search for incriminating evidence of misuse of confidential information.

       9.      Multiple responses to Requests for Production and Interrogatories that were

               drafted and sent by Defendants to appease Plaintiff’s counsel.

Phase 2: Plaintiff’s Second Attorney, Adam Starr (See billing entries from September 2020 to

December 2020):

       1.      Defendants spent excessive time dealing with Plaintiff’s prior counsel’s

               withdrawal and updating new counsel on the status of the litigation and the lack of

               Plaintiff’s production.

       2.      Due to Plaintiff’s continued refusal to produce clearly relevant discovery, after

               nearly six-months of demanding production, Defendants were forced to file a

               motion to compel.

       3.      After the motion to compel was filed by Defendants, Plaintiff’s new counsel

               attempted to amend its Complaint to remove any sections relating to the relevant

               discovery requests by Defendants.

       4.      Counsel acknowledged some of the discovery issues and erroneous claims made

               and amended the answer to remove specific allegations and reduced its damages

               claim from $150,000 eventually to nominal damages.




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       5.      Defendants were required to answer and address multiple drafts of the amended

               complaint based on Plaintiff’s desire to amend its Complaint in order to avoid its

               own discovery obligations.

       6.      Plaintiff, before receiving any stipulation to its amended complaint, filed a motion

               for summary judgment alleging facts that were clearly discoverable by

               Defendants but not produced by Plaintiff, which motion was later withdrawn.

       7.      Defendants’ Motion to Compel was partially granted even after the amended

               complaint had removed several sections relating to Defendants’ discovery

               requests, including amendments to Plaintiff’s prayer from $150,000 to nominal

               damages.

Phase 3: Plaintiff’s Third Attorney, Nick Henderson (See billing entries from December 2020

to Present):

       1.      Upon taking the case, Plaintiff’s counsel saw the claim for what it was worth and

               requested a settlement to simply walk away and have the case dismissed.

       2.      Plaintiff’s counsel dismissed this case voluntarily and has now left Defendants

               having litigated an unsubstantiated claim for well over a year, against three sets of

               attorneys, and having seen the damages progressively be reduced from $150,000,

               to nominal damages, to finally a voluntary dismissal.

       2.      Defendants are Entitled to an Award of Attorney Fees.

       In its complaint, Plaintiff prayed for an award of attorney fees pursuant to a

nondisclosure agreement between the Plaintiff and the Defendants. Each of the Defendants in

this matter filed answers, likewise claiming a right to an award of attorney fees pursuant to the

terms of the nondisclosure agreement. After litigation over the course of more than one year,

including extensive discovery and motions practice, Plaintiff filed a notice of dismissal against

all defendants. (DE 60). The court entered an order of dismissal on February 11, 2021 (DE 61).

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       By way of a Notice of Removal, Plaintiff submitted that this court has diversity

jurisdiction of this matter pursuant to 28 USC § 1332(a). (DE 1). In such an instance, this court

looks to Oregon law to determine which is the prevailing party in litigation for the sake of a

potential award of attorney fees to a party. Keith Manufacturing, Co., v. Larry D. Butterfield,

No. 3:2015cv02008 (DE 64, p. 14) (D. Or. 2020); citing Alyeska Pipeline Serv. Co. v. Wilderness

Soc’y, 421 U.S. 240, 259 n. 31 (1975). ORCP 54 A(3) allows for a defendant as the prevailing

party when the plaintiff files a notice of voluntary dismissal, either with or without prejudice.

Keith Manufacturing, Co., v. Larry D. Butterfield, No. 3:2015cv02008 (DE 64, p. 14) (D. Or.

2020), citing Attway, Inc. v. Saffer, 95 Or. App. 481, 484, 770 P.2d 596, 598 (1989).

       The nondisclosure agreement at issue in the lawsuit states that the agreement will be

governed according to Oregon law, and states that: “In any litigation concerning this agreement,

the prevailing party will be entitled to recover all reasonable expenses of litigation, including

reasonable attorney fees at trial and on any appeal.” (DE 1, Ex. A, p. 2.) Plaintiff’s complaint

made a request for an award of attorney fees pursuant to that contract, as did Defendants in their

answers. Accordingly, in this diversity case, ORS 20.096 will apply to an award of attorney fees

to the prevailing party as allowed by the contract between the parties.

       Plaintiff’s voluntary dismissal came after the Defendants filed answers in the matter, and

was not based on a stipulation between the parties. Presumably then, the Order of Dismissal

entered by the Court was pursuant to FRCP 41(a)(2).            “A district court has discretion to

determine whether to impose costs and fees under Rule 41(a)(2).” ME2 Prods. v. Sheldon, 2017

US Dist. LEXIS 173264 (2017); citing Stevedoring Servs. of Am. v. Armilla Int’l B.V., 889 F.2d

919, 921 (9th Cir. 1989). In such a review, it is important for the Court to note that the parties

communicated to the Court clerk, before entry of the Order of Dismissal, that the understanding

of all parties was that the Defendants would submit a request for attorney fees in the matter as

the prevailing party. Postma Dec., ⁋ 6, Ex. 1. Citing to the case of Williams v. Peralta Cnty.

Coll. Dist. 227 F.R.D. 538, 540 (N.D. Cal. 2005), this court ruled in the ME2 Prods. Case that

the following factors apply to determining an award under FRCP 41 (a)(2): (1) a duplicative

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expense for subsequent litigation; (2) the effort and expense by a defendant in preparing for trial;

(3) the extent that the litigation progressed; and (4) the diligence of the plaintiff in moving to

dismiss. 2017 U.S. Dist. LEXIS 173264 at 8-9.

        While this matter is dismissed without prejudice, it is important for this court to consider

an award of fees in this instance to prevent a subsequent and duplicate trial of the merits of this

matter. As explained in more detail above, and in the supporting declaration of counsel that

defendants had to expend significant fees to address a very broad discovery request on an initial

complaint that was very broad in its scope, that defense counsel had to expend significant effort

to address Plaintiff’s unwillingness to provide discovery on its very broad case, and that defense

counsel had to expend significant time and fees in order to address a motion to compel in which

defendants prevailed and also forced the filing of an amended complaint more limited in scope,

as well as a filed motion for summary judgment that Plaintiff eventually withdrew. Declaration

of Eric A. Postma in Support of Motion for Attorney Fees (“Postma Dec., Ex. B, ⁋⁋ 49 – 99).

That speaks to the second and third factors indicated above. It also speaks in part to the

diligence of Plaintiff in dismissing the matter since dismissal only came after more than a year of

contentious litigation with discovery issues and motions practice largely instigated by the

Plaintiff.

        Precedent shows that, following a voluntary dismissal and order of the Court pursuant to

FRCP 41(a)(2), this Court can award attorney fees to the Defendants in this matter as the

prevailing party. Indeed, that is precisely what was anticipated by the parties when the dismissal

was submitted to the Court. Defendants are entitled to an award of their attorney fees and costs

expended in this matter.

        3.       The Amount of Fees Requested Is Reasonable.

        Defendants request an award of $115,398.00 in attorney fees. As the declaration filed in

support of this motion demonstrates, the requested amount is reasonable and supported by the

record in this action.

///

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       The first step in the determination of a reasonable amount of attorney fees is a
determination of the hours “reasonably expended.”           D’Emanuele v. Montgomery Ward &

Co., 904 F.2d 1379, 1384 (9th Cir 1990), amended, 1990 U.S. App. LEXIS 15329 (9th Cir.

1990), overruled on other grounds, City of Burlington v. Dague, 505 U.S. 557 (1992). While a

court should not award fees that are redundant, excessive, or unnecessary, Hensley v. Eckhart,

461 U.S. 424, 433-34, 103 S.Ct. 1933, 76 L.Ed.2d 40 (1983), this Court should make that

determination based on the scope of the case that Plaintiff prosecuted, the fact that it was

unsuccessful, and eventually dismissed the matter.

       This case started as a claim for $150,000 in damages, although the complaint was clearly

drafted in a way to claim misuse of confidential information with an eye towards a potentially

larger claim for damages.1 Defendants had to first address removal to a case with clear diversity.

(DE 1). Defendants then had to address informal discovery requests at the outset of the case,

followed by overly-extensive discovery requests in the case designed to escalate the case from

one for violation of a nondisclosure agreement to one for misuse of information. Postma Dec., ⁋

9. After Defendants incurred significant fees addressing very broad discovery requests from

Plaintiff’s initial counsel, Plaintiff put significant effort into avoiding responding to Defendants’

discovery requests that were equally as broad as those propounded by Plaintiff, and were

designed to provide a defense against a claim for six figures with an eye towards expanding the

case to a misuse of information claim. Postma Dec., ⁋ 9. After extensive referral and multiple

additional discovery requests from Plaintiff’s counsel, Defendants filed a motion to compel

because Plaintiff would not account for discovery that matched the scope of the case that it filed,

nor the continued allegations in the complaint and amended complaint alleging misuse of

confidential information. (DE 18). After the filing on the motion to compel, Plaintiff amended

its complaint to reduce the scope to one commensurate with the discovery they were willing to


       1
          The eventual amendment of the complaint seeking to remove allegations of misuse of
confidential information, and the ruling of the Court on the motion to compel discovery provides
examples of how the scope of the case started broad, but was whittled down towards the end of the case.

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provide, but the Court still granted the motion to compel. (DE 42). Plaintiff’s counsel also filed

a motion for summary judgment that it eventually withdrew. (DE 24, DE 48). Amended

complaints even dropped the claimed damages from $150,000 eventually down to nominal

damages only. Only then did a third attorney come on board that appropriately discussed

dismissal of the action.

       A first glance at attorney fees in this matter show significant fees from defense counsel

that may look large for this matter, and could appear to be duplicative and unnecessary.

However, this Court should review the scope of the case as filed, the scope of the discovery

pursued by Plaintiff, the unwillingness to provide discovery the Court found appropriately

requested, extensive motions practice including a withdrawn motion for summary judgment, and

an eventual appropriate dismissal of the claim. Plaintiff made this case large, not defendants.

An award of attorney fees should consider that when determining the reasonable hours expended.

       After reviewing the number of hours reasonably expended, the Court should next

determine a reasonable hourly rate. Chalmers v. Los Angeles, 796 F.2d 1205 (9th Cir. 1986),

amended 808 F.2d 1373 (9th Cir. 1987). Using the most recent Oregon State Bar Economic

Survey as a benchmark, as adjusted for inflation, the hourly rates requested are commensurate

with the experience of the attorneys and staff involved, as well as regional standards for rates.

Lead counsel is an attorney with more than 21 years of experience in civil litigation, and bills at

a rate of $350 per hour. Postma Dec., ¶ 5.         The 2017 Oregon State Bar Economic Survey
(“2017 Survey”) indicates that the 25th to 75th percentile for attorneys with 21-30 years of

experience in the Tri-County area falls between $325 and $475 per hour. Even without adjusting

for inflation, the hourly rate of $350 per hour is reasonable and appropriate, considering that

inflation of approximately 8% from 2017 to the present would make the 25th percentile for a 20+

year attorney $350 per hour. The second attorney in the matter has five years of experience and

bills at rate of $275 per hour, Postma Dec., ¶ 6, which also falls within the 75th percentile for

attorneys in the Tri-County area as per the 2017 Survey.               Adjusting for inflation of

approximately 8% from 2017 to the present, the 75th percentile for a five-year attorney today

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would be just under $300, meaning the billed rate of $275 is certainly reasonable. To lower

costs, the services of a paralegal with over 30 years of experience was also utilized as is

reasonable and appropriate for the region, with a reasonable rate of $160.00. Postma Dec., ¶ 4.

       Considering the scope of this case as prosecuted by Plaintiff, the number of hours

requested is reasonable. The hourly rates charged are also reasonable considering that the hourly

rates for the two attorneys at issue, both experienced in civil litigation, fall approximately at the

50 percentile range for attorneys in the Tri-County area area as per the 2017 Oregon State Bar

Economic Survey.       Accordingly, the requested fees of $115,398.00 are reasonable and

appropriate.

       4.      Conclusion.

       In view of the arguments and authorities set forth above, Defendants are entitled to an

award of not less than $115,398.00 in attorney fees.

       RESPECTFULLY SUBMITTED this 25th day of February, 2021.

                                              BITTNER & HAHS, P.C.



                                              By:       s/Eric S. Postma
                                                    Eric S. Postma, OSB #993478
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 1                                 CERTIFICATE OF SERVICE

 2          I hereby certify that on the 25th day of February, 2021, I served the foregoing

 3   DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION FOR AN AWARD OF

 4   ATTORNEY FEES on the following individual:

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 7   E: nhenderson@portlaw.com
     Of Attorneys for Plaintiff
 8
     via CM/ECF Notice of Electronic Filing.
 9
            DATED this 25th day of February, 2021.
10
                                                  BITTNER & HAHS, P.C.
11

12                                             By: s/Eric S. Postma
13                                                Eric S. Postma, OSB #993478
                                                  Of Attorneys for Defendants
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